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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:14-cv-02887-JLK

  ALEJANDRO MENOCAL, et al.,

         Plaintiffs,

  v.

  THE GEO GROUP, INC.,

         Defendant.


              ORDER AMENDING SCHEDULING AND DISCOVERY ORDER


         THIS MATTER, coming before the Court on the Parties’ Stipulated Motion and

  Proposed Order to Extend Discovery Cut-off (Doc. 112), and being fully advised in the premises,

         IT IS HEREBY ORDERED that the Motion (Doc. 112) is GRANTED. The Scheduling and

  Discovery Order (Doc. 103) is AMENDED such that:

         Plaintiffs shall respond to GEO’s Second Set of Written Discovery on or before January

  19, 2018.

         The discovery cut-off is extended to May 4, 2018.

                 DATED this 18th day of December, 2017.

                                                BY THE COURT:



                                               JOHN L. KANE
                                               SENIOR U.S. DISTRICT JUDGE
